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                 DISTRICT COURT OF THE VIRGIN ISLANDS
                  DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,             )
                                      )
                 Plaintiff,           )
                                      )
                 v.                   )     Criminal No. 2013-22
                                      )
RAYMOND BROWN,                        )
                                      )
                 Defendant.           )
                                      )

ATTORNEYS:

Ronald Sharpe, United States Attorney
Kelly B. Lake, AUSA
St. Thomas, U.S.V.I.
Kim Lindquist, AUSA
St. Thomas, U.S.V.I.
     For the plaintiff,

Arturo R. Watlington, Jr.
Law Offices of Arturo Watlington
St. Thomas, U.S.V.I.
     For the defendant Raymond Brown,


                                   ORDER


      Before the Court is United States motion to disqualify

Attorney Arturo Watlington as counsel for defendant Raymond

Brown.

      This order is written primarily for the parties, and thus

assumes familiarity with the facts underlying this motion. On

February 10, 2014, the Court held a hearing on a motion to

withdraw filed by Attorney Watlington (the “first motion”).                At

the hearing, the Court inquired as to the bases for the first
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motion.   Attorney Watlington indicated that he believed there

was a conflict which ran afoul of Model Rule of Professional

Conduct 1.7.

      Specifically, Attorney Watlington indicated he had a

recurring attorney-client relationship with Raymond Brown’s

father, Omar Brown.      Attorney Watlington indicated that he was

representing Omar Brown in a real estate transaction in which

Omar Brown and Raymond Brown had adverse interests. On that

basis, Attorney Watlington asked to withdraw.           The United States

did not oppose the first motion, advising that out of an

abundance of caution the United States was in favor of

disqualification. The Court denied the first motion. The Court

found that there was not sufficient evidence on the record to

conclude that there even was an ongoing real estate transaction,

that Omar Brown and Raymond Brown had adverse interests in such

a transaction, or that any such interests would materially limit

Attorney Watlington in his representation of either individual

in these unrelated cases.

      The United States filed the instant motion to disqualify on

March 3, 2014.     In it, the United States requests that Attorney

Watlington be disqualified from representing Raymond Brown.                The

United States alleges that there is reason to believe there is a

conflict of interest between Omar Brown and Raymond Brown.
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      Thereafter, the Court referred the motion to disqualify to

Magistrate Judge Ruth Miller for a Report and Recommendation.

The Magistrate Judge found she could not conclude, based on the

record or the law, that there was a significant risk that the

representation of any of Attorney Watlington’s clients would be

materially limited by his representation of Raymond Brown in

this case.

      The Court has undertaken a de novo review of the complete

record and relevant law, and must agree with the Magistrate

Judge’s conclusions.

      The premises considered, it is hereby

      ORDERED that the Magistrate Judge’s Report and

Recommendation is ADOPTED; and it is further

      ORDERED that the motion to disqualify is DENIED.


                                                     S\
                                                          CURTIS V. GÓMEZ
                                                          District Judge
